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                                        EXHIBIT 1

                                    Amended Top 30 List




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     Fill in this information to identify the case:

 Debtor Name         RMH Franchise Holdings, Inc., et al.
 United States Bankruptcy Court for the:                           District of    Delaware
                                                                                   (State)

  Case number (If known):       18-11092 (BLS)                                                                                             Check if this is an
                                                                                                                                           amended filing



Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims on a Consolidated Basis and Are Not Insiders                                                                                              12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


      Name of creditor and               Name, telephone number,          Nature of the         Indicate if     Amount of unsecured claim
      complete mailing address,          and email address of creditor    claim                 claim is        If the claim is fully unsecured, fill in only
      including zip code                 contact                          (for example, trade   contingent,     unsecured claim amount. If claim is partially
                                                                          debts, bank loans,    unliquidated,   secured, fill in total claim amount and deduction
                                                                          professional          or disputed     for value of collateral or setoff to calculate
                                                                           services, and                        unsecured claim.
                                                                          government
                                                                          contracts)                            Total claim,     Deduction        Unsecured
                                                                                                                if partially     for value        claim
                                                                                                                secured          of collateral
                                                                                                                                 or setoff

 1    BMO Harris Bank N.A.            Mariely Romero                      Bank loan             Unliquidated                                     $33,448,073.38
      111 W. Monroe Street, 20-Center ( 312) 461-5844
      Chicago, IL 60603



 2    Applebee’s International, Inc.   Amber Overstreet                   Franchise             Contingent,                                      $14,276,476.40
      140 Ward Parkway                 Accounts Receivable Manager        Agreement             Unliquidated,
      Kansas City, MO 64114            Phone (913) 890-0351                                     Disputed
                                       Fax (913) 890-9351


 3    McLane Food Services, Inc.       Shaunna Williams                   Trade                                                                  $1,224,489.63
      2085 Midway Road                 (972) 364-2014
      Carrollton, TX 75007             shaunna.williams@mclanefs.com

 4    System Services                  Pamela Hunter                      Trade                                                                  $735,952.51
      16100 North 71st Street          (480) 927-4741
      Suite 510                        pamela.hunter@ssafood.com
      Scottsdale, AZ 85254
 5    Sysco Lincoln                    Antinoro David                   Trade                                                                    $320,030.50
      P.O. Box 80068                   (402) 499-7192
      Lincoln, NE 68501-2605           antinoro.david@lincoln.sysco.com

 6    Glazier Food Company             Tyler Youngs                       Trade                                                                  $204,172.07
      11303 Antoine Drive              (832) 978-2966
      P.O. Box 201705                  Tyler.youngs@glazierfoods.com
      Houston, TX 77066
 7    Edward Don & Company             Faina Martynyuk                    Trade                                                                  $190,922.53
      2562 Paysphere Circle            (972) 624-7437
      Chicago, IL 60674                fainamartynyuk@don.com

 8    Merco VII, LLC                   (614) 975-6400                     Lease                                                                  $127,693.30
      2800 Edington Road
      Columbus, OH 43221




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     Debtor     RMH Franchise Holdings, Inc., et al.                                            Case number (if known)         18-11092 (BLS)
                Name


     Name of creditor and               Name, telephone number,         Nature of the           Indicate if     Amount of unsecured claim
     complete mailing address,          and email address of creditor   claim                   claim is        If the claim is fully unsecured, fill in only
     including zip code                 contact                         (for example, trade     contingent,     unsecured claim amount. If claim is partially
                                                                        debts, bank loans,      unliquidated,   secured, fill in total claim amount and deduction
                                                                        professional            or disputed     for value of collateral or setoff to calculate
                                                                         services, and                          unsecured claim.
                                                                        government
                                                                        contracts)                              Total claim,      Deduction        Unsecured
                                                                                                                if partially      for value        claim
                                                                                                                secured           of collateral
                                                                                                                                  or setoff

 9   Shelton Farms                     (800) 827-9759                   Trade                                                                     $74,692.84
     1832 SO 11th Street
     Niles, MI 49120

 10 Ameresco, Inc.                     P. Collins                       Utility Services                                                          $66,958.37
    P.O. Box 419135                    (509) 343-5352
    Boston, MA 02241-9135              pcollins@ameresco.com

 11 Staples Technology Solutions       (888) 438-4806                   Technology Services                                                       $43,523.52
    P.O. Box 95230
    Chicago, IL 60694

 12 Willis Towers Watson               (312) 288-7700                   Professional Services                                                     $39,975.50
    35371 Network Place
    Chicago, IL 60673

 13 SHI International Corp.            (888) 235-3871                   Technology Services                                                       $37,656.43
    P.O. Box 952121
    Dallas, TX 75395-2121

 14 Heavenly Blue LLC                  (859) 278-8725                   Trade                                                                     $37,500.00
    3310 Sutherland Drive
    Lexington, KY 40517

 15 Cigna Health and Life Insurance    J. Meints                        Insurance                                                                 $33,541.05
    Company                            jmeints@rmhfranchise.com
    P.O. Box 644546
    Pittsburgh, PA 15264-4546
 16 U.S. Foodservice, Inc.             Valerie Clow                     Trade                                                                     $33,323.39
    P.O. Box 905831                    (386) 763-3655
    Charlotte, NC 28290-5831           valerie.clow@usfoods.com

 17 Grand Avenue Produce Co., Inc.     John                             Trade                                                                     $30,218.21
    8990 W Windsor Dr.                 (623) 312-2214
    Peoria, AZ 85381                   john@grandavenueproduce.com

 18 Restaurant Technologies, Inc.      (888) 796-4997                   Technology Services                                                       $23,213.90
    12962 Collections Center Dr.
    Chicago, IL 60693

 19 The Steritech Group, Inc.          (704) 544-1900                   Professional Services                                                     $19,980.37
    P.o. Box 472127
    Charlotte, NC 28247-2127

 20 SFI Ford City – Chicago LLC        (773) 767-4180                   Lease                                                                     $17,764.32
    36488 Network Place
    Attn: Lockbox 26488
    Chicago, IL 60673-1264
 21 Commercial Fire, Inc.              (800) 241-1277                   Insurance                                                                 $17,063.60
    2465 St Johns Bluff Road South
    Jacksonville, FL 32246




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    Debtor      RMH Franchise Holdings, Inc., et al.                                            Case number (if known)         18-11092 (BLS)
                Name


     Name of creditor and               Name, telephone number,          Nature of the          Indicate if     Amount of unsecured claim
     complete mailing address,          and email address of creditor    claim                  claim is        If the claim is fully unsecured, fill in only
     including zip code                 contact                          (for example, trade    contingent,     unsecured claim amount. If claim is partially
                                                                         debts, bank loans,     unliquidated,   secured, fill in total claim amount and deduction
                                                                         professional           or disputed     for value of collateral or setoff to calculate
                                                                          services, and                         unsecured claim.
                                                                         government
                                                                         contracts)                             Total claim,      Deduction        Unsecured
                                                                                                                if partially      for value        claim
                                                                                                                secured           of collateral
                                                                                                                                  or setoff

 22 Snagajob.com, Inc.                 (804) 822-4608                    Job Posting Services                                                     $14,452.92
    32978 Collections Center Dr.
    Chicago, IL 60693-0329

 23 Darling International, Inc.        (402) 733-3010                    Trade                                                                    $13,625.34
    P.O. Box 552210
    Detroit, MI 48255-2210

 24 EcoLab Food Safety Specialties     (800) 321-3687                    Trade                                                                    $11,020.24
    Inc.
    24198 Network Place
    Chicago, IL 60673-1241
 25 The Travelers Indemnity            (866) 339-7219                    Insurance                                                                $8,775.00
    385 Washington St. NB10A           tracer@travelers.com
    St. Paul, MN 55102

 26 Southern Wine and Spirits          Christine Wexell                  Trade                                                                    $7,422.55
    2404 S Wilson St.                  (602) 533-8000
    Tempe, AZ 85282                    christinewexell@southernwine.co
                                       m
 27 Liberty Services                   (877) 217-7199                    Trade                                                                    $6,904.45
    1005 S. Main St.                   info@libertyservicesinc.net
    West Milton, OH 45383

 28 Iris Strategic Marketing Support   (913) 232-4803                    Marketing Services                                                       $6,367.90
    10801 Lakeview Ave
    Lenexa, KS 66219

 29 Southern Glazer’s Wine & Spirits J. Minniti                          Trade                                                                    $5,831.97
    300 E Crossroads Parkway         (630) 685-3000
    Bolingbrook, IL 60440            jminniti@southernwine.com

 30 L&F Distributing                   J. Lamantia                       Trade                                                                    $5,241.72
    3900 N. McCol Road                 (956) 687-7751
    McAllen, TX 78501                  jlmantia@lnfdist.com




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